          CASE 0:19-cv-02112-JNE-LIB Doc. 25 Filed 06/05/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

Scott Lundberg,                                     Court File No. 19-cv-2112 (JNE/LIB)
                                    Plaintiff,
       vs.                                           STATEMENT FOR FILING UNDER
                                                          TEMPORARY SEAL
Sid Harvey Industries, Inc.,
                                  Defendant.


       Pursuant to Local Rule 5.6 and in response to the Court’s June 2, 2020 text-only order,

Defendant Sid Harvey Industries, Inc., has filed under seal a copy of the parties’ Confidential

Settlement Agreement and Release, the entirety of which is confidential. This statement is

submitted as the “Redacted Public Version” under Local Rule 5.6(d)(1)(A)(ii).

Date: June 5, 2020                           s/Grant D. Goerke
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